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                                                           January 24, 2025

 Via ECF
 Honorable Michael A. Hammer
 Martin Luther King Building
 & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07101


                 RE:     Rowe Plastic Surgery of NJ LLC v. Leading Edge Administrators
                         Docket No.: 2:24-cv-09533-JKS-MAH


 Dear Judge Hammer,

        Kindly allow this letter to confirm that the parties have reached a settlement in principle
 with respect to the above-captioned matter. As such, we respectfully request that the Court enter
 a 60-day administrative termination order. We thank the Court for its courtesies in this regard.




                                                     Very truly yours,

                                                     s/Michael Gottlieb
                                                     Michael Gottlieb




 Cc: All counsel of record via ECF




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